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                                  STATEMENT OF FACTS

                                          Background

        Your affiant, Nicholas Vanderploeg, is a Special Agent assigned to the Federal Bureau of
Investigation (“FBI”), Detroit Field Office, Bay City Resident Agency, and has been so employed
since June 2022. Between approximately August 2016 and June 2022, I was employed by U.S.
Capitol Police. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of violations of Federal criminal laws. The statements contained herein are based on
my personal observations, my training and experience, and information obtained from other agents
and witnesses. I have not included every fact known to me concerning this investigation.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police (USCP). Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
USCP officers. Only authorized people with appropriate identification are allowed access inside
the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to
members of the public.

        On January 6, 2021, a joint session of Congress convened at the U.S. Capitol, which is
located at First Street, SE, in Washington, D.C. During the joint session, elected members of the
United States House of Representatives and the United States Senate were meeting in separate
chambers of the U.S. Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House of
Representatives and Senate members adjourned to separate chambers to resolve a particular
objection. Vice President Mike Pence was present and presiding, first in the joint session and then
in the Senate Chambers.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and USCP officers were present and attempting to keep the crowd away from the
building and the proceedings underway inside.

        While the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured, USCP officers attempted to
maintain order and keep the crowd from entering the U.S. Capitol. At around 2:00 p.m., individuals
in the crowd forced entry into the U.S. Capitol building, including by breaking windows and
assaulting members of USCP, as others in the group encouraged and assisted those acts.

       Shortly after that, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice



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President Pence remained in the United States Capitol from when he was evacuated from the
Senate Chambers until the sessions resumed.

        During national news coverage of the events above, video footage that appeared to be
captured on mobile devices of persons present on the scene, depicted evidence of violations of
local and federal law, including scores of individuals inside the U.S. Capitol building without
authority to be there.

                                           AFO #242

        As part of its investigation into the events of January 6, 2021, the FBI created a website
titled “FBI Most Wanted – Capitol Violence” (https://www.fbi.gov/wanted/capitol-violence),
where the FBI shared images and videos of unknown individuals engaging in violence during the
riot and requested assistance from the public to help identify these individuals. Rioters who were
wanted for Assaults on Federal Officers were given a specific designator (“AFO”) and number to
help track their identities.

        The FBI disseminated information concerning one of these individuals, AFO #242, in a
bulletin providing the following information:

       -   He is holding a blue flag with white writing that displays the words “TRUMP 2020
           KEEP AMERICA GREAT.” A red rectangle borders the writing. Note: many Trump
           flags in the crowd, but few have this design and wording.
       -   His flagpole is a light-colored wooden dowel with a slightly larger diameter than most
           other flagpoles seen in the crowd.
       -   He has light-colored skin and was not wearing gloves.
       -   He was wearing a blue jacket.
       -   He was wearing a red knit hat that displays the word “TRUMP” in white letters, has a
           white circle over the forehead and has a pom-pom.

      AFO #242’s images were also posted on the FBI Capitol Violence website, included below
as Images 1 through 4. Users on the social media website, Twitter, later gave AFO #242 the
nickname “The Freshman Flagger” to further identify him.




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                                      Images 1 through 4

                 JEREMY MICHAEL RODGERS is identified as AFO #242

        The FBI received multiple tips from individuals who knew RODGERS personally and
identified him as AFO #242, including by identifying him in the pictures on the FBI’s website.
Some of those tipsters reported that they heard from RODGERS that he went to Washington, DC
on January 6, 2021. Based in part on those tips, the FBI located RODGERS in Midland, Michigan
and sought to interview him.

       On December 19, 2022, I and another FBI Special Agent attempted to interview
RODGERS. RODGERS declined to be interviewed; however, both Agents positively identified
RODGERS as AFO #242 from pictures and videos from the attack on the U.S. Capitol on January
6, 2021.

              RODGERS’ Conduct at the U.S. Capitol Riot on January 6, 2021

        I have reviewed videos and photos of the riot that are publicly documented and available
online and have identified RODGERS in some of those videos. I have also reviewed Capitol
surveillance footage from January 6, 2021 and have identified RODGERS in some of that footage.
After having met RODGERS in person, I believe the individual identified as AFO #242 and
depicted in the videos and photos that I reviewed are the same person, JEREMY MICHAEL
RODGERS. Throughout the video images, RODGERS continues to wear the same clothing and
can easily be identified amongst the other individuals. The following facts are drawn from my
review of those videos and photos.

        On January 6, 2021, RODGERS approached the Capitol from the East, moving up the steps
towards the East Rotunda door. Image 5 is from a video located at
https://archive.org/details/dNja7HbNLHztWGcbo, which shows RODGERS, circled in yellow,
waving a flag to the crowd.




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            Image 5 (approx. 4:57 of https://archive.org/details/dNja7HbNLHztWGcbo)

        In the video, RODGERS then turns and makes his way to the front of the crowd.
RODGERS, identifiable by his blue flag and circled in yellow below, can then be seen attempting
to push against and rush the line of officers, as depicted in Image 6 below. After RODGERS is
repelled, RODGERS again waved his flag to encourage the crowd forward.




          Image 6 (approx. 8:58 of https://archive.org/details/dNja7HbNLHztWGcbo)




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        Shortly thereafter, the crowd overran the line of officers defending the stairs and advanced
to the area around the U.S. Capitol East Rotunda Door. USCP and D.C. Metropolitan Police
Department officers attempted to stop rioters from breaching the U.S. Capitol’s East Rotunda
Door. The same video from above, https://archive.org/details/dNja7HbNLHztWGcbo, shows
RODGERS using his flagpole as a weapon, swinging it down onto the officers who were blocking
access to the door. RODGERS struck a USCP officer (hereinafter identified as “Officer-1,” whose
identity is known to the FBI) three times on his helmet. The strikes are loud enough to be heard
in videos documenting the assault. After a short time passed, RODGERS struck down with the
flagpole twice more in the direction of the officers.

        Officer-1 was visually identified by an FBI Special Agent from the Washington Field
Office and this identity was later confirmed in an interview by that Agent. Officer-1 recalled being
struck in the head but did not recall the description of the individual who struck him; however,
Officer-1 remembered there was a blue flag in his face that he felt someone was deliberately
placing there to obstruct his view. In a subsequent interview, Officer-1 stated that while he was
wearing a helmet, it was “wobbly,” ill-fitting, and without proper padding, and that he felt every
strike to his head. Officer-1 further stated that he might have received a concussion from the
events of January 6, 2021 and that he suffered from vertigo and moments of dizziness for around
three months following January 6, 2021, but he did not seek medical treatment. Officer-1 could
not attribute this head injury to a particular moment during the riot.

       Image 7 is a still image from the video showing RODGERS carrying his flag near the East
Door where the assault occurred. Image 8 is a still image from the video showing RODGERS
swinging his flag down.




             Image 7 (approx. 21:57 of https://archive.org/details/dNja7HbNLHztWGcbo)




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             Image 8 (approx. 27:05 of https://archive.org/details/dNja7HbNLHztWGcbo)

        A video located at https://odysee.com/@vinceableworld:a/AtBackDoors:2 shows the
assault from a different angle. Image 9 is a still image from that video showing RODGERS with
the flag resting on his shoulder while facing the camera. Image 10 is a still image from that video
showing RODGERS near the East door just before the assault. Image 11, another still image from
the video, shows RODGERS extending the flagpole over his head immediately before bringing it
down on Officer-1’s head.




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 Image 9 (approx. 8:14 of https://odysee.com/@vinceableworld:a/AtBackDoors:2)




Image 10 (approx. 10:18 of https://odysee.com/@vinceableworld:a/AtBackDoors:2)




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      Image 11 (approx. 11:06 of https://odysee.com/@vinceableworld:a/AtBackDoors:2)

        At approximately 2:25 p.m., the East Rotunda door was opened from the inside. Officers
attempted to close the door; however, they were prevented from doing so by members of the crowd,
including one who used a flagpole to prevent the door from closing. This is reflected in Image 12,
which        is      a        still    image        from      a       video        located      at
https://www.facebook.com/watch/?v=452101999118185. The flagpole and flag combination
(circled in yellow) are consistent with RODGERS’ flag as described in the description of AFO
#242. The individual holding the flagpole, who I believe to be RODGERS, then uses the flag to
strike down in the doorway until he can gain entry.




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      Image 12 (approx. 0:10 of https://www.facebook.com/watch/?v=452101999118185)

       On the other side of the door, Capitol CCTV footage from approximately 2:25 p.m. shows
the same blue flag on a wooden pole sticking through the East door (Image 13). At approximately
2:26 p.m., an individual consistent in appearance with RODGERS enters the U.S. Capitol building,
wearing a red knit hat and carrying the blue flag on a wooden flagpole (Image 14).




                                           Image 13




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                                            Image 14

        At     the    same      time,  in      a   publicly     available    video    located   at
https://archive.org/download/ZHmrrwZep8ftWW2jg/Inside_the_2021_Storming_.mpeg4,
RODGERS can be seen entering the Capitol Building through the Rotunda doors, holding the
flagpole with the blue flag attached. A still image from that video is included below as Image 15,
with RODGERS circled in yellow.




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                                Image 15 (approx. 1:02:30 of
   https://archive.org/download/ZHmrrwZep8ftWW2jg/Inside_the_2021_Storming_.mpeg4)

        After passing through the East Door, RODGERS proceeded into the Rotunda. Interior
Capitol CCTV footage shows RODGERS walking southward from the Rotunda toward Statuary
Hall and the House side of the building. An individual consistent in appearance with RODGERS
entered Statuary Hall at approximately 2:28 p.m., roughly two minutes after entering the U.S.
Capitol. Image 16 is a still image taken from the video located at
https://www.youtube.com/watch?v=Nm-TAdNXgMo and shows RODGERS near the front of the
crowd as it moves through Statuary Hall.




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        Image 16 (approx. 3:51 of https://www.youtube.com/watch?v=Nm-TAdNXgMo)

        USCP officers had previously placed a railing at the far end of Statuary Hall, presumably
as a security measure. In a video located at https://archive.org/details/CcWoDMZenyzdxzy5p,
RODGERS can be seen moving ahead of the crowd and physically removing the railing from the
crowd’s path (Image 17). After removing the railing, RODGERS says “come on in,” then stands
aside and shouts “USA, USA” while waving people toward the House Chambers (Image 18). This
event is also documented on Capitol CCTV (Image 19).




         Image 17 (approx. 55:06 of https://archive.org/details/CcWoDMZenyzdxzy5p)




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        Image 18 (approx. 55:27 of https://archive.org/details/CcWoDMZenyzdxzy5p)




                                        Image 19

        RODGERS lingered between Statuary Hall and the Rotunda for several minutes. At
approximately      2:31      p.m.,     according    to     a  video      located    at
https://www.youtube.com/watch?v=XE3Op_eyvss, RODGERS passed through Statuary Hall a
second time, walking toward the House Chambers (Image 20).




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         Image 20 (approx. 10:00 of https://www.youtube.com/watch?v=XE3Op_eyvss)

         Image 21 is a still from Capitol CCTV footage and shows an individual consistent in
appearance with RODGERS return to the group near the entrance to the House Chambers. Within
minutes of this still image, the crowd surged forward through the line of officers. RODGERS
appears in this video to have an active role in pushing through the line of police. Image 22 shows
RODGERS             at        the       entrance        to       the        House        Chambers
(https://archive.org/details/CcWoDMZenyzdxzy5p).




                                            Image 21




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        Image 22 (approx. 1:06:40 of https://archive.org/details/CcWoDMZenyzdxzy5p)

        At this time, members of the House of Representatives, staff, and U.S. Capitol Police were
barricaded inside the chamber, just beyond the closed doors. Image 23 is a publicly available
photo taken from inside the House Chamber during the January 6, 2021 riot, showing the other
side of this door. Image 24 is a still frame from a video obtained pursuant to court-ordered search
warrant of the phone of another January 6 defendant who was in the same area. RODGERS, who
pushed forward within feet of the door, likely would have seen these officers defending the door.
Image 25 is a still shot of a publicly available video depicting showing RODGERS, circled, close
to the door.




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Image 23 (available at https://www.gettyimages.com/detail/news-photo/capitol-police-officers-point-
                    their-guns-at-a-door-that-was-news-photo/1294932172)




                                            Image 24




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           Image 25 (approx. 28:47 of https://archive.org/details/nYiFQbNc65jwFYCWY)

        RODGERS also would have seen another rioter attempt to break out the window with a
flag. RODGERS remained by the door as the crowd of rioters chanted, “Stop the steal!” A few
minutes later, RODGERS handed his flag to another rioter. See Image 26 (Rodgers left, his flag
right). Shortly after, RODGERS grabs his flag back from the same rioter. RODGERS then
remained in the entrance to the House Chamber as the crowd chanted, “Break it down!”




         Image 26 (approx. 30:57 of https://archive.org/details/nYiFQbNc65jwFYCWY)

        At some point, RODGERS left the entrance to the House Chamber as officers attempted to
regain control of the area. As he exited, RODGERS got involved in a scuffle with USCP officers
attempting to clear the area outside the door, as shown in the still image from a publicly available
video reflected in Image 27 below. At some point during this altercation, another rioter appears
to deploy a white spray, which hits one of the officers. RODGERS walks away, and moments



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later, law enforcement deployed smoke, tear gas, or some other irritant, presumably in an attempt
to disperse the rioters.




             Image 27 (approx. 0:08 of https://archive.org/details/sJ8HvKPApSyB8zQNK)

         Image 28 shows an individual consistent in appearance with RODGERS wearing a white
facemask            and          moving           away          from        the         door
(https://ia904504.us.archive.org/19/items/WAgBNHcKjMzeLoZTx/stephen_horn_hd.mpeg4).
Image 29 shows the same individual on Capitol CCTV at 2:46 p.m. return to the entrance of the
House Chambers after the attempted dispersal.




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                                  Image 28 (approx 47:01 of
  https://ia904504.us.archive.org/19/items/WAgBNHcKjMzeLoZTx/stephen_horn_hd.mpeg4)




                    Image 29 (cropped image from Capitol surveillance)

        At approximately 2:50 p.m., an individual consistent in appearance with RODGERS re-
enters Statuary Hall reflected in Image 30 below from Capitol surveillance footage.


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                                           Image 30

        RODGERS then appears on CCTV footage in the Rotunda waving his flag around and
gesturing toward the House Chambers (Image 31).




                                           Image 31

        RODGERS spends a few minutes in the Rotunda and then, at approximately 2:56 p.m., he
exits the U.S. Capitol Building through the East Rotunda door, the same door he entered. This is
captured in Image 32 below, a still image from Capitol CCTV, which appears to depict RODGERS
talking on a cell phone.




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                                             Image 32

             Further Corroboration of RODGERS’ Presence in Washington, DC

       According to information provided by Wildfire Credit Union, pursuant to legal process,
the account ending in -6963 is associated with RODGERS. I reviewed checking account
statements for the account ending -6963 from around January 6, 2021, which showed that
RODGERS traveled from the area of his home address in Midland, Michigan to Washington, D.C.
on January 5, 2021, and returned to Midland, MI, on January 7, 2021. The statements show
purchases along the highway southeast from Midland, MI on a route utilized to drive to
Washington, D.C. Specifically, the statements showed purchases on January 5, 2021 in
Greensburg, Pennsylvania (PA) and then at the Breezewood Plaza in PA, which I know to be a
major highway stop between a toll road in PA and a highway in Maryland. Each subsequent
purchase occurs closer to Washington, D.C. On January 6, 2021, records show a purchase at
Starbucks Coffee #07759, which according to open-source searches appears to have been located
in Union Station in Washington, D.C., and additional money spent in the nearby city of Reston,
Virginia (VA) later in the day. Records on January 7, 2021, show RODGERS’ trip back to
Midland, MI, with purchases once again at the Breezewood Plaza in PA.

        According to information provided by Verizon, pursuant to legal process, RODGERS is
the subscriber for the account associated with cell phone number xxx-xxx-5403. The cell phone
toll records associated with phone number ending in -5403 demonstrate a travel pattern consistent
with the debit card statements described above. That is, according to the location of origination of
phone calls, RODGERS traveled to Washington, D.C. on January 5, 2021, and traveled back
toward Midland, MI, on January 7, 2021.




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        According to records obtained through a search warrant, previously served on Verizon by
the FBI, on January 6, 2021, in and around the time of the incident, the cell phone associated with
the number ending in -5403 was identified as having utilized a cell site consistent with providing
service to a geographic area that included the interior of the United States Capitol building.

                                            Conclusion

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Jeremy Michael RODGERS violated Title 18, United States Code (“U.S.C.”) Section (“§”)
111(a)(1) and (b) which makes it a crime to forcibly assault, resist, oppose, impede, intimidate, or
interfere with any federal law enforcement officer while that officer is engaged in or on account
of the performance of official duties, and uses a deadly or dangerous weapon or inflicts bodily
injury.

        Your affiant submits there is also probable cause to believe that Jeremy Michael
RODGERS violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to
commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

         Your affiant submits there is also probable cause to believe that Jeremy Michael
RODGERS violated 18 U.S.C. § 1752(a)(1) and (b)(1)(A), 18 U.S.C. § 1752(a)(2) and (b)(1)(A),
and 18 U.S.C. § 1752(a)(4) and (b)(1)(A), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do and, during and in relation to
the offense, uses or carries a deadly or dangerous weapon or firearm; (2) knowingly, and with
intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official function and, during and in relation to the offense, uses or carries
a deadly or dangerous weapon or firearm; and (4) knowingly engage in any act of physical violence
against any person or property in any restricted building or grounds, and, during and in relation to
the offense, uses or carries a deadly or dangerous weapon or firearm. For purposes of Section 1752
of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of
a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

      Finally, your affiant submits there is probable cause to believe that Jeremy Michael
RODGERS violated 40 U.S.C. § 5104(e)(2)(D), (F), and (G), which makes it a crime to willfully
and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or


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disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; (F) engage in an act of physical violence in
the Grounds or any of the Capitol Buildings; and (G) parade, demonstrate, or picket in any of the
Capitol Buildings.



                                      Nicholas Vanderploeg
                                      Special Agent
                                      Federal Bureau of Investigation



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 23rd day of June 2023.
                                                      G. Michael       Digitally signed by G.
                                                                        Michael Harvey

                                                      Harvey            Date: 2023.06.23 12:11:04
                                                                        -04'00'
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE




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